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 1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
     A Limited Liability Partnership
 2   Including Professional Corporations
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 7 Attorneys for Defendant
   West Thomas Partners, LLC
 8
                                     UNITED STATES DISTRICT COURT
 9
                                    NORTHERN DISTRICT OF CALIFORNIA
10

11
   JOHN FORRETT, individually, and on behalf           Case No. 5:22-cv-02048-NC
12 of those similarly situated,

13                     Plaintiff,                      JOINT SETTLEMENT STATUS REPORT

14            v.

15 WEST THOMAS PARTNERS, LLC d/b/a/
   GFB,
16
            Defendant.
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                                                     -1-                      Case No. 5:22-cv-02048-NC
     SMRH:4921-7618-9199.1                                       SETTLEMENT CONFERENCE STATEMENT
       Case 5:22-cv-02048-NC          Document 99           Filed 01/15/25    Page 2 of 3




 1                                      JOINT STATUS REPORT

 2            Defendant West Thomas Partners, LLC (“Defendant” or “West Thomas”) and Plaintiff

 3 John Forrett (“Plaintiff”), hereinafter “the Parties”, submit this Joint Settlement Status Report

 4 pursuant to the Clerk’s Notice on December 13, 2024 (Dkt. #98).

 5            On December 13, 2024, counsel for Defendant notified the Court that the Parties reached

 6 an agreement in principle to settle the above-captioned litigation.

 7            On January 9, 2025, the Parties executed a final Settlement Agreement and Release. The

 8 Parties anticipate that Plaintiff will file a dismissal with prejudice approximately thirty (30) days.

 9 Should the timing of the dismissal change, the Parties will notify the Court.
10

11 Dated: January 15, 2025

12                                    SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
13

14                                    By
15                                                            CHRISTOPHER VAN GUNDY
                                                                  NATASSIA KWAN
16

17                                                              Attorneys for Defendant
                                                            WEST THOMAS PARTNERS, LLC
18

19 Dated: January 15, 2025

20                                         GOOD | GUSTAFSON | AUMAIS LLP
21

22                                         By                        /s/ Ryan Gustafson
23                                                                J. RYAN GUSTAFSON
                                                                  STEFFAN T. KEETON
24
                                                       Attorneys for Plaintiff JOHN FORRETT
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                                                      -2-                         Case No. 5:22-cv-02048-NC
     SMRH:4921-7618-9199.1                                                   SETTLEMENT STATUS REPORT
       Case 5:22-cv-02048-NC         Document 99         Filed 01/15/25    Page 3 of 3




 1                       ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

 2            I, Natassia Kwan, attest that concurrence in the filing of this JOINT SETTLEMENT

 3 STATUS REPORT has been obtained from the other signatories.

 4
     Dated: January 15, 2025
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                                            By                   /s/ Natassia Kwan
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                                                                NATASSIA KWAN
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     SMRH:4921-7618-9199.1                                                SETTLEMENT STATUS REPORT
